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14
                                    UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
17 ARTHUR J. GALLAGHER & CO., a                  )   CASE NO.: 20-cv-05505-EMC
     Delaware Corporation,                       )
18                                               )
                       Plaintiff,                )   PLAINTIFF ARTHUR J. GALLAGHER
19                                               )   & CO.’S EVIDENTIARY OBJECTIONS
            vs.                                  )   TO DEFENDANTS’ REPLY IN
20                                               )   SUPPORT OF THEIR MOTION FOR
                                                 )   PARTIAL SUMMARY JUDGMENT
21 DON TARANTINO, an individual,                 )
     BERNADETTE HEATER, an individual,           )   Hearing: April 28, 2022
22 MICHAEL MACHETTE, an individual, and          )   Time: 1:30 pm
     SPENCER BRUSH, an individual,               )   Ctrm:    5
23                                               )   Judge: Judge Edward M. Chen
                       Defendants.               )
24                                               )
                                                 )   Complaint Filed: August 7, 2020
25                                               )
26
27
28
                                                                      Case No.: 3:20-CV-05505-EMC
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1              Pursuant to Local Rule 7-3(d), Plaintiff Arthur J. Gallagher & Co. (“Gallagher”) hereby

2    objects to the following evidence submitted in Defendants’ Reply in support of their Motion for

3    Partial Summary Judgment. Gallagher has been unfairly disadvantaged by Defendants’ new

4    evidence and new arguments raised for the first time in Defendants’ Reply, and Local Rule 7-3 (d)

5    provides Gallagher an opportunity to object.

6              Gallagher respectfully requests that its objections this new evidence be sustained and

7    excluded from this Court’s consideration of Defendants’ Motion for Partial Summary Judgment.

8    I.        THE COURT SHOULD DISREGARD THE NEW EVIDENCE IN SUPPORT OF
9              DEFENDANTS’ ARGUMENT RAISED FOR THE FIRST TIME IN THEIR REPLY
               BRIEF
10             Defendants cite to the following evidence—despite it being available to Defendants when
11 they filed their moving papers—in support of an argument raised for the first time in their Reply;
12                                                             1
     namely, that Gallagher’s expiration lists are not trade secrets. This is improper. The “district court
13
     need not consider arguments raised for the first time in a reply brief.” Zamani v. Carnes, 491 F.3d
14
     990, 997 (9th Cir. 2007). Also, “arguments raised for the first time in a reply brief are waived.”
15
     Turtle Island Restoration Network v. U.S. Dep't of Com., 672 F.3d 1160, 1166 n.8 (9th Cir. 2012)
16
     (quoting Graves v. Arpaio, 623 F.3d 1043, 1048 (9th Cir. 2010)).
17
               Objection 1: Accordingly, Gallagher objects to the following evidence raised in support of
18
     an argument for the first time in Defendants’ Reply because it is irrelevant, lacks foundation, and is
19
     opinion testimony by a lay witness. Fed. R. Evid. §§ 401, 403, 602, 701.
20
               •   Heater Dep. 104:6-23
21
               •   Heater Dep. 112:16-21
22
               •   Heater Dep. 120:10-25
23
               •   Heater Dep. 122:15-25
24
               •   Heater Dep. 134:21-135:6
25
               •   Heater Dep. 283:17-284:4
26
               •   Heater Dep. 292:15-293:20
27
28
     1
         ECF No. 89-2 at 6-7.
                                                         1
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1            Defendants had the opportunity to include this evidence (and argument) in their moving

2    papers. They chose not to. It is improper for Defendants to now inject this new evidence—in

3    support of a newly raised argument—into their Reply for the Court’s consideration, and Gallagher

4    would be prejudiced because it had no meaningful opportunity to address such evidence. See

5    Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (moving party bears the initial burden of

6    identifying the grounds for judgment and identifying portions of the record demonstrating the

7    absence of disputed issues of material fact); Acasio v. Lucy, 2017 WL 1316537, at *10 (N.D. Cal.

8    Apr. 10, 2017) (on summary judgment, “[n]ew evidence or analysis presented for the first time in a

9    reply is improper and will not be considered.”) (citation omitted); Lane v. Landmark Theatre Corp.,

10 2020 WL 1976420, at *28 (N.D. Cal. Apr. 24, 2020) (“Because [non-movant] ha[s] not had an
11 opportunity to respond [to the new evidence in the Reply], the Court is unwilling to grant summary
12 judgment in [movant’s] favor”). Therefore, this Court should disregard this new evidence.
13 II.       THE COURT SHOULD DISREGARD THE EVIDENCE INTRODUCED FOR THE
14           FIRST TIME IN DEFENDANTS’ REPLY BRIEF
             Defendants’ Reply contains new evidence that was not included in their moving papers.
15
             Objection 2: Defendants proffer the deposition testimony of Gallagher employee Shasa
16
17 Barbour in support of their argument that Defendant Tarantino was unhappy while at Gallagher and
18 complained about staffing issues at Gallagher. (Reply at 10.) Gallagher hereby objects to the
19 following evidence because it is irrelevant, Ms. Barbour lacks foundation to testify regarding
20 Tarantino’s subjective mind, and it is the opinion of a lay person. Fed. R. Evid. §§ 402, 602, 701.
             •   Barbour Dep. 58:20-59:21
21
             •   Barbour Dep. 61:24-62:5
22
             •   Barbour Dep. 91:20-25
23
             Objection 3: Defendants proffer the deposition testimony of Gallagher’s employee Riley
24
25 Binford in support of their argument that Defendant Tarantino was unhappy while at Gallagher and
26 complained about staffing issues at Gallagher. (Reply at 10.) Gallagher hereby objects to the
27 following evidence because it is irrelevant, Mr. Binford lacks foundation to testify regarding
28 Tarantino’s subjective mind, and it is the opinion of a lay person. Fed. R. Evid. §§ 402, 602, 701.

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1            •   Binford Dep. 34:21-24

2            •   Binford Dep. 79:22-80:4

3            Objection 4: Defendants also proffer Mr. Binford’s deposition testimony to support their

4    argument that Tarantino did not have managerial authority at Gallagher. (Reply at 10.) Mr.

5    Binford did not testify as Gallagher’s corporate representative and his opinions are in direct contrast

6    with that testimony. Gallagher hereby objects to the following evidence because it is irrelevant, Mr.

7    Binford lacks foundation to testify regarding the managerial authority of Tarantino while at

8    Gallagher, and it is the opinion of a lay person. Fed. R. Evid. §§ 402, 602, 701.

9            •   Binford Dep. 92:9-93:15

10           Objection 5: Defendants further proffer Mr. Binford’s deposition testimony to support their

11 argument that no one was surprised that Tarantino’s two sons resigned from Gallagher after
12 Tarantino did. (Reply at 15.) Mr. Binford did not testify as Gallagher’s corporate representative
13 and his opinions are of a lay person. Gallagher hereby objects to the following evidence because it
14 is irrelevant, Mr. Binford lacks foundation to testify regarding the impression of others, including
15 Gallagher’s, and it is the opinion of a lay person. Fed. R. Evid. §§ 402, 602, 701.
16           •   Binford Dep. 161:7-10

17           Objection 6: Defendants proffer the deposition testimony of Alliant’s employee Jay Fischer

18 in support of their argument that Tarantino was not involved in Alliant’s posting of job openings for
19 Heater and Tarantino’s two sons. (Reply at 14.) Gallagher hereby objects to the following
20 evidence because it is irrelevant, and Defendants misstate Fischer’s testimony as the following
21 excerpts do not support Defendants’ proposition that Tarantino was not involved in Alliant’s
22 posting of job openings for Heater and Tarantino’s two sons. Fed. R. Evid. § 402.
23           •   Fischer Dep. 30:12-18 (Irrelevant)

24           •   Fischer Dep. 153:4-13 (Irrelevant; Misstates Testimony)

25           Objection 7: Defendants proffer the deposition testimony of Alliant’s employee Jay Fischer

26 in support of their claim that Brandon Quinlan told Mr. Fischer that if Tarantino came to Alliant, he
27 believed Heater and his sons would likely want to follow. (Reply at 14.) Gallagher hereby objects
28 to the following evidence because it is irrelevant and does not state what Defendants purport it to

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1    say. Fed. R. Evid. § 402. Gallagher further objects to Fischer’s testimony because it is

2    inadmissible hearsay as Fischer’s testimony about what Mr. Quinlan told him is being offered for

3    the truth of the matter asserted. Fed. R. Evid. §§ 801-802.

4            •   Fischer Dep. 158:14-159:1 (Hearsay)

5            •   Fischer Dep. 159:5-18 (Irrelevant; Misstates Testimony)

6            •   Fischer Dep. 164:19-165:18 (Hearsay)

7            Objection 8: Defendants proffer the deposition testimony of Alliant’s employee Jay Fischer

8    in support of their argument that no one from Alliant talked to Heater about a job at Alliant until

9    after Tarantino resigned from Gallagher. (Reply at 14.) Gallagher hereby objects to the following

10 evidence as inadmissible hearsay as Fischer’s testimony about what Mr. Quinlan told him is being
11 offered for the truth of the matter asserted. Fed. R. Evid. §§ 801-802.
12           •   Fischer Dep. 34:20-35:16

13           Objection 9: Gallagher further objects to the following evidence because it is irrelevant, Mr.

14 Fischer lacks foundation to testify about why Tarantino requested salary information for his team at
15 Gallagher, and it is inadmissible hearsay because Fischer’s testimony about what Tarantino told
16 him is being offered to establish that Tarantino did not use his team’s salary information at
17 Gallagher for an improper purpose after Tarantino joined Alliant (see Reply at 13). Fed. R. Evid.
18 §§ 402; 801-802.
19           •   Fischer Dep. 157:22-158:13

20           Objection 10: Defendants proffer the deposition testimony of Tarantino in support of their

21 claim that Tarantino believed his two sons were surprised when they learned he resigned from
22 Gallagher. (Reply at 15.) Gallagher hereby objects to the following evidence because it is
23 irrelevant, does not state what Defendants purport it to say, and Tarantino lacks foundation to testify
24 about his two sons’ subjective minds. Fed. R. Evid. §§ 402, 602.
25           •   Tarantino Dep. 31:1-32:2 (Irrelevant; Misstates Testimony)

26           •   Tarantino Dep. 32:5-23 (Lacks Foundation)

27           •   Tarantino Dep. 91:20-92:5 (Irrelevant)

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1              Objection 11: Defendants proffer the deposition testimony of Tarantino in support of their

2    claim that he asked for Gallagher’s employees’ salaries while at Gallagher because there was

3    “turmoil on the team” and there were “complaints from staff.” (Reply at 13.) Gallagher objects to

4    the following evidence as irrelevant because Tarantino’s and his staff’s frustrations or unhappiness

5    with Gallagher is not probative of finding he did not have or violate his fiduciary duties to

6    Gallagher. Fed. R. Evid. § 402.

7              •     Tarantino Dep. 91:8-19

8              Objection 12: Defendants proffer Tarantino’s deposition testimony in support of their claim

9    that Tarantino sent confidential client information to his personal email while at Gallagher to

10 service those accounts on behalf of Gallagher. (Reply at 9.) Gallagher objects to the following
11 evidence because it misstates Tarantino’s testimony – Tarantino actually testified that he does not
12 know why he sent confidential client information to his personal email. Fed. R. Evid. § 402.
13             •     Tarantino Dep. 106:15-108:11

14 III.        CONCLUSION

15             For the foregoing reasons, this Court should sustain Gallagher’s objections and exclude the

16 above evidence from its consideration of Defendants’ Motion for Partial Summary Judgment.
17 Alternatively, should the Court consider this newly introduced evidence, Gallagher respectfully
18 requests the opportunity to file a sur-reply to address such evidence and related arguments.
19
     Dated: April 21, 2022                            By:    /s/ Meghan R. McMeel
20
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